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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


UNITED STATES OF AMERICA                       :       Case No. 1:20-CR-00077
                                               :
v.                                             :       Judge Timothy S. Black
                                               :
HOUSEHOLDER ET AL.                             :       AMENDED
                                               :       PROTECTIVE ORDER
                                               :       REGARDING DISCOVERY
                                               :


        WHEREAS, pursuant to Rule 16 of the Federal Rules of Criminal Procedure,

Maryland v. Brady, 373 U.S. 83 (1963) and its progeny, and 18 U.S.C. § 3500, the

government will provide materials to the defendants in the course of the discovery process

in this case (hereafter “Discovery Materials”), which may include, but are not limited to,

copies of recordings made by witnesses, interviews, reports, photographs, writings, or other

materials related to the underlying investigation of this case;

        WHEREAS, the government represents that the Discovery Materials include

sensitive information, the unrestricted dissemination of which could adversely affect law

enforcement interests and the privacy interests of the defendants, third parties, and

witnesses;

        WHEREAS, the government has a compelling interest in preventing some of the

aforementioned Discovery Materials from being disclosed to anyone who is not a party to

the court proceedings in this matter, as such material may include information relevant to

ongoing investigations and prosecutions, and such materials may implicate the privacy

interests of the defendants, third parties, and witnesses;




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       WHEREAS, the Court has the power under Fed. R. Crim. P. 16(d)(1) to grant

appropriate relief to the parties where required in the interests of justice;

IT IS ORDERED that:

       1.      Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure, the

government shall segregate the Discovery Materials into three categories: (1) Tier 1

Discovery Materials, (2) Tier 2 Discovery Materials, and (3) Tier 3 Discovery Materials.

The category to which particular discovery materials belong shall be clearly identified by

the government.

       2.      Tier 1 Discovery Materials are defined as materials that were largely

obtained through publicly available sources.

       3.      Tier 2 Discovery Materials are defined as materials that are neither Tier 1

Discovery Materials nor otherwise designated as falling into the category of Tier 3

Discovery Materials, which are sensitive, as described below.

       4.      Tier 3 Discovery Materials are defined as sensitive materials or information

that involve, refer, or relate to sensitive investigatory techniques or information the

disclosure of which would reveal the sensitive investigative methods used by law

enforcement in complex corruption investigations and/or identify or reveal information

about other individuals, investigations, or witnesses.

       5.         “Tier 3 Attorneys’ Eyes Only Discovery Materials” is a subset of “Tier 3

Discovery Materials,” and consists of information obtained from electronic devices in the

government’s possession, which has been filtered for potentially privileged material, but

may contain other sensitive information, such as personal or financial information. (The

government will later produce “hot documents” from these devices, which will be marked

as Tier 3 Discovery Material without the “Attorney’s Eyes Only” designation.)

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       6.        The government shall mark each page of each document and each item

provided as Discovery Materials with a unique identifying prefix and number that identifies

the category into which the material falls.

       7.      The “Defense Team” is defined as (i) the defendant; (ii) counsel of record

for the defendant and their staff members (associates, paralegals, investigators, litigation

support personnel, and legal assistants/secretarial staff); and (iii) experts, consultants, and

investigators retained to assist in the preparation of the defense. The “Defense Team” does

not include individuals or entities joined pursuant to a Joint Defense Agreement or other

similar agreement to share defense resources and/or strategy with other Defense Teams or

uncharged third parties (hereinafter, “Joint Defense Agreement”).

       8.      “Disseminate” means to provide, show, or describe to another either a

particular piece of discovery or quotations, excerpts, or summaries derived therefrom.

Disseminate also includes disclosing the identity or probable identity of a confidential

witness (e.g., an informant, confidential source, undercover agent) or individual or entity

not charged in this case, where identifying information was derived from discovery

materials.

       9.      Tier 1 Discovery Materials may be disseminated by the Defense Team

without limitation.

       10.     Tier 2 Discovery Materials may be shared with members of the Defense

Team. Tier 2 Discovery Materials shall not be further disseminated by any member of the

Defense Team to any individuals, organizations, or other entities outside the Defense Team,

except that members of the Defense Team, but not the Defendant, may show (but not provide

copies of) any Tier 2 Discovery Materials to witnesses or potential witnesses during the




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course of their investigation of this case. Tier 2 Discovery Materials may not be left in the

possession of witnesses or potential witnesses.

        11.     Tier 3 Discovery Materials may be shared with members of the Defense

Team. Tier 3 Discovery Materials shall not be further disseminated by any member of the

Defense Team to any individuals, organizations, or other entities. This includes, but is not

limited to, a prohibition against dissemination of any Tier 3 Discovery Materials to

witnesses or potential witnesses, and a prohibition against dissemination of any Tier 3

Discovery Materials pursuant to any Joint Defense Agreement with individuals,

organizations, or other entities outside the Defense Team.

        12.     Tier 3 Attorneys’ Eyes Only Discovery Materials have the same restrictions

as Tier 3 Discovery Materials, with the added limitation that such materials may only be

viewed by counsel of record for the Defendants and counsel’s staff members (associates,

paralegals, investigators, litigation support personnel, and legal assistants/secretarial staff),

and may not be shared with Defendants or other Defense Team members, due to the

sensitive information such materials may contain.

        13.     If the parties cannot agree on a designation of any of the Discovery

Materials, the defendant, through counsel of record, may seek relief from the government’s

designation (or a re-designation) as to a particular item of discovery by filing a motion with

the Court. The government shall be given an opportunity to respond to the motion. Once

the motion is filed, no further dissemination of the item(s) shall be made until after the

Court rules on the motion.

        14.     Each member of the Defense Team to whom disclosure is made pursuant to

the terms of this Order shall be provided a copy of this Order and will be advised that he or

she shall not further disseminate the materials, except as provided herein. No Discovery

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Materials shall be disseminated to any member of the Defense Team, as defined above,

expert witness retained by the Defense Team, or any duly authorized witness unless that

person shall first have signed the Acknowledgment in the form attached hereto as Appendix

A, agreeing to comply with the terms of this Order. The signed Acknowledgment shall be

filed with the Court under seal. The substitution, departure, or removal for any reason from

this case of counsel for the defendant, expert witness, or anyone associated with the Defense

Team shall not release that person from the provisions of this Order or the

Acknowledgement executed in connection with this Order.

       15.     Defense counsel shall store all Discovery Materials, and any copies thereof,

in a secure place, such that the Discovery Materials cannot be accessed by others not on the

Defense Team.

       16.     The Discovery Materials in this case are now and will forever remain the

property of the United States Government. At the conclusion of this case, all Discovery

Materials shall be destroyed. Upon written request of the Government, all Discovery

Materials not previously destroyed shall be returned to the Government.

       17.     All Discovery Materials are to be provided to counsel of record for the

defendant, and used by the defendant and the Defense Team solely for the purpose of

allowing the defendant to prepare his defense. The defendant and Defense Team shall not

make, or participate in the making of, any extrajudicial disclosure of Discovery Materials

for dissemination by means of public communication, unless such materials are (or become)

public record, including but not limited to, trial transcripts, documents that have been

received in evidence at other trials, or documents that are otherwise properly placed in the

public domain. Discovery Materials attached to Court filings as exhibits shall be filed under

seal. Motions or other filings that merely refer to, cite, or quote the Discovery Materials

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need not be filed under seal, so long as the motions or other filings do not disseminate the

identity or probably identity of a confidential witness or third party (as defined in paragraph

7 above).

       18.     The government is responsible for correctly identifying into which of the

above categories it believes the Discovery Materials fall.          The government is also

responsible for properly marking the Discovery Materials in a clear manner to identify the

category in which the Discovery Materials were placed by the government. The defendant

and the Defense Team may rely on the government’s category identifications of the

Discovery unless and until modified by the Court’s order. Moreover, the Defense Team

has no obligation to determine the category into which the Discovery Materials belong or

may belong.

       19.     Nothing in this Order shall preclude the government or the defendant from

seeking a further Protective Order pursuant to Rule 16(d) as to particular items of Discovery

Materials. This Order is entered without prejudice to either party’s right to seek a revision

of the Order by appropriate motion to the Court.


SO ORDERED:



       2/4/2021
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Appendix A

                                     ACKNOWLEDGMENT

       The undersigned hereby acknowledges that he or she has read the Protective Order entered

in the United States District Court for the Southern District of Ohio in the case captioned United

States v. Householder, et al., Criminal No. 1:20-cr-077, understands its terms, and agrees to be bound

by each of those terms. Specifically, and without limitation, the undersigned agrees not to use,

disclose, or disseminate any documents or information made available to him or her other than in

strict compliance with the Order. The undersigned acknowledges that his or her duties under the

Order shall survive the termination of this case and are permanently binding, and that failure to

comply with the terms of the Order may result in the imposition of sanctions by the Court.




DATED:                                 BY:
                                              (type or print name)



                                       SIGNED:
